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1700 G Street NW,
Washington, DC 20552


May 29, 2019

Via ECF

The Honorable Thomas I. Vanaskie, Special Master
U.S. District Court, Middle District of Pennsylvania
William J. Nealon Federal Bldg. & U.S. Courthouse
235 N. Washington Avenue
Scranton, PA 18503

       Re:     CFPB v. Navient Corp., et al., Case No. 3:17-CV-00101-RDM

Dear Judge Vanaskie:

       On May 24, 2019, the Bureau wrote a letter to Your Honor indicating that Defendants
submitted two ex parte communications. See Doc. 308, at 1 & n.1. The Bureau is grateful for the
discussion on yesterday’s teleconference and appreciates the opportunity to modify that portion of
its May 24 letter.

        Through this letter, the Bureau withdraws the statements in the May 24 letter accusing
Defendants of having made improper ex parte communications with Your Honor, and apologizes
for having made the statements.

                                                           Respectfully submitted,

                                                           /s Nick Jabbour
